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                   IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAil

UNITED STATES OF AMERICA,                 )       CR 13-00860LEK-017
                                          )
              Plaintiff,                  )
                                          )
      vs.                                 )
                                          )
(17)AKONIDAVIS,                           )
                                          )
              Defendant.                  )
                                          )

                  AMENDED REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUlL TY

              The defendant, by consent, has appeared before me pursuant to Rule 11,

Fed.R.Crm.P., and has entered a plea of guilty to Count 4 of the Indictment. After

examining the defendant under oath, I have determined that the defendant is fully

competent and capable of entering an informed plea, that the guilty plea was intelligently,

knowingly and voluntarily made, and that the offense charged is supported by an

independent basis in fact establishing each of the essential elements of such offense. I

therefore recommend that the plea of guilty be accepted and that the defendant be

adjudged guilty and have sentence imposed accordingly.

              IT IS SO RECOMMENDED.




                                     ~l~~.
                                          UNITED STATES MAGISTRATE JUDGE
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                                     NOTICE

       Failure to file written objections to this Report and Recommendation within
fourteen (14) days from the date of its service shall bar an aggrieved party from
attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. § 636(b)(l)(B).
